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NOTICE OF APPEARANCE IN A CRIMINAL CASE



                                   CLERK’S OFFICE
                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
                               WASHINGTON, D.C. 20001


UNITED STATES OF AMERICA


        vs.                                         Criminal Number 22-CR-00148


RILEY KASPER
            (Defendant)




TO:      ANGELA CAESAR, CLERK

YOU ARE HEREBY NOTIFIED THAT I APPEAR FOR THE DEFENDANT INDICATED
ABOVE IN THE ENTITLED ACTION.


I AM APPEARING IN THIS ACTION AS:              (Please check one)


 9       CJA                9      RETAINED          9■      FEDERAL PUBLIC DEFENDER



                                                                  (Signature)



                                           PLEASE PRINT THE FOLLOWING INFORMATION:

                                          Christopher J. Nathan, AT0011776
                                                          (Attorney & Bar ID Number)
                                          Federal Public Defender - Iowa
                                                                 (Firm Name)
                                          222 Third Avenue S.E., Suite 290
                                                               (Street Address)

                                          Cedar Rapids, IA 52401
                                           (City)                 (State)          (Zip)

                                          319-363-9540
                                                             (Telephone Number)
